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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                   *

                       Plaintiff,            *

 vs.                                         *             CR. NO.: 17-10003-2-STA

 COURTNEY COOPER,                            *

                       Defendant.            *



       ORDER GRANTING MOTION FOR CHANGE OF PLEA HEARING AND SETTING
                         CHANGE OF PLEA HEARING


         Upon Motion of the Defendant herein and for good cause shown, this matter is here by

 SET FOR A CHANGE OF PLEA HEARING on: TUESDAY, AUGUST 8, 2017 at

 10:00am.

         IT IS SO ORDERED, this the 1st day of August, 2017.




                                             s/S. Thomas Anderson
                                             HONORABLE S. THOMAS ANDERSON
                                             CHIEF UNITED STATES DISTRICT JUDGE
